Case 1:25-cv-00059-H         Document 61         Filed 04/30/25   Page 1 of 1     PageID 490



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                ABILENE DIVISION

W.M.M., on his own behalf and on behalf of
all others similarly situated, et al.,

        Petitioners-Plaintiffs,

v.                                                            No. 1:25-CV-059-H

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

        Respondents-Defendants.

                                           ORDER

       The Court previously set an evidentiary hearing to take place on Thursday, May 1,

2025. Dkt. No. 50. In light of the parties’ stipulations of fact and the respondents’

representations to the Court regarding the named petitioners, see Dkt. No. 60, the Court

agrees with the parties that a hearing is no longer necessary. The Court therefore vacates its

previous order setting a hearing (Dkt. No. 50). No hearing will take place tomorrow.

       So ordered on April 30, 2025.



                                                  JAMES WESLEY HENDRIX
                                                  UNITED STATES DISTRICT JUDGE
